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~ Prob 12C
  (Rev. 08/ 15 - DISC)

                                 United States District Court
                                                         for

                                           District of South Carolina


                    Petition for Warrant or Summons for Offender Under Supervision

Name of Offender: Christopher Best                     Case Number: 2:06CR00732-001

Name of Sentencing Judicial Officer: The Honorable Patrick Michael Duffy, Senior U.S. District Judge

Date of Original Sentence: January 3, 2007

Original Offense: Count One: Conspiracy to Possess with Intent to Distribute and Distribution of Methamphetamine
in violation of 21 U.S.C §§ 84l(a)(l), (b)(l)(A), and 846; and Count Six: Possession with Intent to Distribute
Methamphetamine in violation of 21 U.S .C. §§ 84l(a)(l) and (b)(l)(C)

Original Sentence: The defendant was committed to the custody of the Bureau of Prisons for 262 months; this term
shall consist of 262 months as to Count One and 240 months as to Count Six, said terms to run concurrently, followed
by 60 months of supervised release as to each count, to run concurrently with the following special conditions: 1) The
defendant was ordered to pay a $200 special assessment fee and 2) The defendant shall participate in a program for
testing and treatment for substance abuse as approved by the U.S. Probation Officer until such time as he is released
from the program by the U.S. Probation Officer.

Amended Sentence: On January 21, 2016, the defendant was re-sentenced to time served pursuant to United States
v. Rivers, 595 F.3d 558 (4 1h Cir. 2010). The defendant's conviction for Failure to Stop for a Blue Light no longer
qualifies as a predicate conviction for career offender purposes. All previously imposed conditions were to remain in
effect and the following special conditions were added: 1) The defendant shall be placed on location monitoring (as
directed by the U.S. Probation Officer) for a term of 3 months. The defendant shall submit to curfew restrictions as
approved by the U.S. Probation Officer, until such time as the location monitoring can be connected; and 2) The
defendant shall contribute to the costs of any treatment, drug testing and/or location monitoring not to exceed an
amount determined reasonable by the court approved U.S. Probation Office' s Sliding Scale for Services, and shall
cooperate in securing any applicable third-party payment, such as insurance or Medicaid.

Type of Supervision: Term of Supervised Release        Date Supervision Commenced: January 21 , 2016

Assistant U.S. Attorney: Brent Gray                    Defense Attorney: Michael Uricchio

Previous Court Action/Notifications: On May 16, 2019, this case was reassigned to the Honorable Richard M.
Gergel, U.S. District Judge.



                                          PETITIONING THE COURT

~           To issue a warrant

D           To issue a summons

The probation officer believes that the offender has violated the following conditions of supervision:
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   Violation Number           Nature of Noncompliance
                 1)           New Criminal Conduct: On April 24, 2019, Christopher Best was arrested by
                              the Charleston Police Department for two counts of Burglary 2nd Degree
                              (Violent).

                              According to the Affidavit from Charleston Police Department, Mr. Best
                              unlawfully entered 601 Meeting Street, Charleston, South Carolina (Meeting
                              Street Lofts), on February 11 , 2019, at approximately 2:00am utilizing a stolen
                              key fob. After entering the property, Mr. Best turned off the lights to the office,
                              used facility amenities, consumed alcohol and illicit substances, and sifted
                              through desk drawers and cabinets. The defendant also stole account and
                              password information by taking pictures of a day planner and documents left in
                              the desks and cabinets of the office. Management of Meeting Street Loft are
                              unfamiliar with Mr. Best, and he did not have permission to be on the property
                              or in the property office. The defendant is not a resident and has never been a
                              resident of the property.

                              According to the Affidavit from Charleston Police Department, Mr. Best
                              unlawfully entered 601 Meeting St., Charleston, South Carolina (Meeting Street
                              Lofts), on February 16, 2019, at approximately 2:23am through unknown means.
                              After entering the property, Mr. Best turned off the lights, sifted through desk
                              drawers, accessed files, and allowed unknown parties to enter the premises with
                              what appeared to be alcoholic beverages. Management of Meeting Street Loft
                              are unfamiliar with Mr. Best and he did not have permission to be on the property
                              or in the property office. The defendant is not a resident and has never been a
                              resident of the property.



                          I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on    May 16, 2019


                                                                  Paige P. Mathias
                                                                  U.S. Probation Officer

Reviewed and Approved By:

K~~~~- ~
Katrina Robinson-Curtis
Supervising U .S. Probation Officer
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THE COURT ORDERS:

D         No action.

~ The issuance of a warrant.
D          The issuance of a summons.

D          Other




                                            BOND CONSIDERATION:

G          Bond to be set at the discretion of the United States Magistrate Judge.

D         No bond to be set.

D          Other (specify):


The Petition and Warrant shall remain under seal until served by the United States Marshal Service.




                                                        R£G~£f
                                                        United States District Judge

                                                            s-/.1'V,1/
                                                        Date
